The Honorable Charlie Daniels Secretary of State State Capitol, Room 256 Little Rock, AR 72201-1094
Dear Mr. Daniels:
This is in response to your request, pursuant to A.C.A. §7-9-110(a)(1) (Repl. 2000), for my preparation of the popular name for a resolution of the General Assembly passed at the 2007 regular session.1 This resolution, SJR 4, which proposes a constitutional amendment pursuant to Article 19, Section 22 of the Arkansas Constitution, is referred to as Proposed Constitutional Amendment 1.
The popular name for this proposed amendment is hereby fixed and declared as follows in order to distinguish and identify the measure, see generally Becker v. Riviere, 277 Ark. 252, 641 S.W.2d 2 (1982) and Walmsley v. McCuen, 318 Ark. 269, 885 S.W.2d 10 (1994): *Page 2 
Amendment No. 1
(Popular Name)
AN AMENDMENT CONCERNING VOTING, QUALIFICATIONS OF VOTERS AND ELECTION OFFICERS, AND THE TIME OF HOLDING GENERAL ELECTIONS
Sincerely,
DUSTIN McDANIEL Attorney General
1 Section 7-9-110, requires me to "fix and declare the popular name by which each amendment to the Constitution . . . shall be designated." This mandate includes not only constitutional amendments proposed by the people under Arkansas Constitution, Amendment 7, see A.C.A. § 7-9-107, but also constitutional amendments submitted to the people by the General Assembly under Arkansas Constitution, Article 19, Section 22. See A.C.A. § 7-9-110(1) (Repl. 2000). I have no statutory authority, however, with respect to any ballot titles for the latter measures. See Op. Att'y Gen. 1996-096 and A.C.A. § 7-9-204 (stating that: "[t]he title of the joint resolution proposing an amendment to the Arkansas Constitution shall be the ballot title of the proposed constitutional amendment.").